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   7 MARTINEZ, an individual and Officer of
     the Azusa Police Department, CITY OF
   8 AZUSA, a public entity
   9                               UNITED STATES DISTRICT COURT
  10             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12 JOSEPH F. INIGUEZ,                              Case No. 2:22-cv-00106 MCS (GJSx)
                                                     [District Judge: Mark C. Scarsi;
  13                      Plaintiff,                 Magistrate: Gail J. Standish]
  14             v.
                                                     DEFENDANTS' NOTICE OF
  15 OFFICER R. MARTINEZ, an                         STATUS RE DEPARTMENT OF
     individual and Officer of the Azusa             JUSTICE'S INVESTIGATION
  16 Police Department; CITY OF AZUSA,
     a public entity; and DOES 1 to 20,
  17
                   Defendants.                       Complaint Filed: 01/06/22
  18                                                 FAC Filed:       01/12/22
                                                     Trial Date:      N/A
  19
  20 TO THE HONORABLE COURT, ALL PARTIES AND THEIR COUNSEL OF
  21 RECORD:
  22            Defendants, the CITY OF AZUSA and OFFICER R. MARTINEZ,
  23 ("Defendants") hereby provide the following notice as to the status of the Department
  24 of Justice's ("DOJ") investigation pursuant to the Court's Order from November 23,
  25 2022. (Doc. 20).
  26 ///
  27 ///
  28 ///
       4867-0927-6233.1
                  DEFENDANTS' NOTICE OF STATUS RE DEPARTMENT OF JUSTICE'S INVESTIGATION
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   1            It is defendants understanding that the DOJ's criminal investigation of plaintiff
   2 Joseph F. Iniguez as to the same set of facts and circumstances related in this civil
   3 matter has concluded.
   4 DATED: January 11, 2023                  MANNING & KASS
                                              ELLROD, RAMIREZ, TRESTER LLP
   5
   6
                                              By:          /s/ Garros Chan
   7
                                                    Mildred K. O'Linn
   8                                                Garros Chan
                                                    Attorneys for Defendants,
   9
                                                    OFFICER R. MARTINEZ, an individual
  10                                                and Officer of the Azusa Police
  11                                                Department, CITY OF AZUSA, a public
                                                    entity
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                  DEFENDANTS' NOTICE OF STATUS RE DEPARTMENT OF JUSTICE'S INVESTIGATION
